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 7
 8                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ARIZONA
 9
10    United States of America,                   No. 21-04310-MJ-001-PCT-CDB

11                 Plaintiff,                      Notice of Appeal to District Judge
                                                      from Judgment Entered by
12                                                         Magistrate Judge
        vs.
13
      Philip Alejandro Powers III,
14
                   Defendant.
15
16         Notice is hereby given that Philip Alejandro Powers III, defendant in the

17   above-named case, pursuant to Federal Rule of Criminal Procedure 58(g)(2)(B)
18   appeals to a United States District Judge from the Judgment entered by the United
19   States Magistrate Judge Camille D. Bibles on February 14, 2023 (Dkt. #38).
20         Respectfully submitted: February 17, 2023.
21
                                                 JON M. SANDS
22                                               Federal Public Defender

23                                                s/ Sarah K. Erlinder
                                                 SARAH K. ERLINDER
24                                               Assistant Federal Public Defender
                                                 Attorney for Defendant Powers
25
26
27
28
       Case 3:23-cr-08027-MTL Document 1 Filed 02/17/23 Page 2 of 2




 1 Copy of the foregoing transmitted
   by CM/ECF for filing and served
 2 on February 17, 2023, to:
 3
   Honorable Camille D. Bibles
 4 United States Magistrate Court
   123 N. San Francisco Street, Suite 200
 5 Flagstaff, AZ 86001
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   Paul V. Stearns
 7 Assistant United States Attorney
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   Copy mailed to:
10 Philip Alejandro Powers III, Defendant
11
    s/ A.R.
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